Case 1:04-cr-00385-LMB Document 301 Filed 07/19/13 Page 1 of 1 PageID# 13




                                                                Filed[with Classified
                                                             In^mau^Security Officer
                  IN THE UNITED STATES DISTRICT COURT0'
                 FOR THE EASTERN DISTRICT OF VIRGJBife, "
                          ALEXANDRIA DIVISION




 UNITED STATES
                                        Case No. cr-04-385

                                        Hon. Leonie M. Brinkcma
 ALIAL-TIMIMI




  DEFENDANT DR ALI AL-TIMIMI'S MEMORANDUM IN SUPPORT OF MOTION
          TO COMPEL DISCOVERY
